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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



 U.S. SECURITIES AND EXCHANGE
 COMMISSION,                                                Case No. 19-cv-5244 (AKH)
                     Plaintiff,
        vs.

 KIK INTERACTIVE INC.

                            Defendant.




                DECLARATION OF LAURA D’ALLAIRD IN SUPPORT OF
             PLAINTIFF U.S. SECURITIES AND EXCHANGE COMMISSION’S
                       MOTION FOR SUMMARY JUDGMENT


I, Laura D’Allaird, pursuant to 28 U.S.C. § 1746, do hereby declare as follows:

       1.       I am a member of the bar of the State of New York, and I am admitted to practice

pro hac vice in the above-captioned action. I am employed by Plaintiff United States Securities and

Exchange Commission (the “SEC”) in the SEC’s headquarters office in Washington, D.C. as Senior

Counsel in the Division of Enforcement.

       2.       I have personal knowledge of the facts and circumstances of this case. As counsel

representing the SEC, I reviewed information and documents obtained by the SEC during its

investigation and litigation of this matter, including documents described herein, and information

provided to me by members of the SEC staff.

       3.       I am submitting this Declaration to put forth exhibits in support of the SEC’s

motion for summary judgment against Defendant Kik Interactive Inc.

       4.       Attached hereto are true and correct copies of the following documents or excerpts

thereof:
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Exhibit                  Document Description                                    Bates

SEC1      Kik’s Responses to the SEC’s Investigative Requests        N/A
          for Admission, dated September 17, 2018
SEC2      Kik’s Responses to the SEC’s Rule 36 Requests for          N/A
          Admission, dated October 7, 2019
SEC3      Transcript of Erin Clift Investigative Testimony,          N/A
          dated July 26, 2018
SEC4      Transcript of Peter Heinke Deposition Testimony,           N/A
          dated November 22, 2019
SEC5      Transcript of Eileen Lyon Investigative Testimony,         N/A
          dated August 30, 2018
SEC6      Transcript of Rule 30(b)(6) Deposition Testimony of        N/A
          Kik Interactive Inc., dated February 5, 2020
SEC7      Deposition Exhibit 264                                     N/A

SEC8      Transcript of Ted Livingston Investigative                 N/A
          Testimony, dated November 7 & 8, 2018
SEC9      Transcript of Paul Holland Investigative Testimony,        N/A
          dated June 15, 2018
SEC10     Deposition Exhibits 21 & 22, Transcript of Peter           N/A
          Heinke Investigative Testimony, dated September 21
          & 22, 2018
SEC11     Deposition Exhibit 26                                      KIK_00007193-229

SEC12     Deposition Exhibit 27                                      KIK_00007243-79

SEC13     Email Chain, dated February 1, 2017                        KIK_FOUNDATION_CAP_001299
                                                                     -305
SEC14     Transcript of Tanner Philp Investigative Testimony,        N/A
          dated August 20 & 21, 2018
SEC15     Deposition Exhibit 28                                      KIK_FOUNDATION_CAP_005705
                                                                     -71
SEC16     Investigative Testimony Exhibit 150                        USV0003712

SEC17     Transcript of Fred Wilson Investigative Testimony,         N/A
          dated September 5, 2018
SEC18     Deposition Exhibit 4                                       KIK_00026450-94

SEC19     Deposition Exhibit 36                                      KIK_00106784-835

SEC20     Dirk A. Zetzsche, Ross P. Buckley, Douglas W.              N/A
          Arner, & Linus Föhr, The ICO Gold Rush: It’s a Scam,
          It’s a Bubble, It’s a Super Challenge for Regulators, 60
          Harv. Int’l L. J. 267, 288 (2019)
SEC21     Deposition Exhibit 133                                     MMLWM-00000145-62
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SEC22     Transcript of William Mougayar Deposition          N/A
          Testimony, dated December 6, 2019
SEC23     Transcript of Daniel Morehead Investigative        N/A
          Testimony, dated September 14, 2018
SEC24     Investigative Testimony Exhibit 180                KIK_00100298

SEC25     Email Chain, dated February 28, 2017               KIK_00026563-64

SEC26     Investigative Testimony Exhibit 107                KIK_00026624-28

SEC27     Deposition Exhibit 6                               COINFUND007691-747

SEC28     Deposition Exhibit 35                              KIK_00106656-714

SEC29     Email Chain, dated April 26, 2017                  USV0015937-38

SEC30     Deposition Exhibit 7                               KIK_00106868-98

SEC31     Deposition Exhibit 12                              KIK000001-28

SEC32     Investigative Testimony Exhibit 56                 COINFUND006070-97

SEC33     Investigative Testimony Exhibit 84                 KIK_00021417

SEC34     Deposition Exhibit 135                             MMLWM-00000020-21

SEC35     November 12, 2019 Stipulation                      N/A

SEC36-A   May 25, 2017 Token Summit Video                    SEC-KIK-LIT-E-0000333

SEC36-B   Transcript of May 25, 2017 Token Summit Video      SEC-KIK-LIT-E-0000181-89

SEC37     Investigative Testimony Exhibit 200                N/A

SEC38     Investigative Testimony Exhibit 88                 N/A

SEC39     Investigative Testimony Exhibit 202                KIK_00107736-63

SEC40     Transcript of Eran Ben-Ari Deposition Testimony,   N/A
          dated November 5, 2019
SEC41     Deposition Exhibit 2, Transcript of Eran Ben-Ari   N/A
          Investigative Testimony, dated October 23, 2018
SEC42     Transcript of Michael Hourigan Investigative       N/A
          Testimony, dated July 24, 2018
SEC43     Email, dated June 1, 2017                          COINFUND012819-20
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SEC44     Email, dated June 1, 2017                           PANT-000000051-52

SEC45-A   June 20, 2017 TechCrunch Shenzhen Video             SEC-KIK-LIT-E-0000305

SEC45-B   June 20, 2017 TechCrunch Shenzhen Video             SEC-KIK-LIT-E-0000031-44
          Transcript
SEC46-A   June 27, 2017 An Evening with Ted Livingston        SEC-KIK-LIT-E-0000277
          Video
SEC46-B   June 27, 2017 An Evening with Ted Livingston        SEC-KIK-LIT-E-0000133-62
          Video Transcript
SEC46-C   June 27, 2017 An Evening with Ted Livingston        SEC-KIK-LIT-E-0000332
          Video Screen Capture
SEC47-A   August 1, 2017 Finance Magnates’ Blockchain         SEC-KIK-LIT-E-0000272
          Podcast Video
SEC47-B   August 1, 2017 Finance Magnates’ Blockchain         SEC-KIK-LIT-E-0000119-32
          Podcast Video Transcript
SEC47-C   August 1, 2017 Finance Magnates’ Blockchain         SEC-KIK-LIT-E-0000271
          Podcast Video Screen Capture
SEC48-A   August 14, 2017 Fintech Canada: Bitcoin and         SEC-KIK-LIT-E-0000275
          Ethereum Summit Video
SEC48-B   August 14, 2017 Fintech Canada: Bitcoin and         SEC-KIK-LIT-E-0000077-90
          Ethereum Summit Video Transcript
SEC48-C   August 14, 2017 Fintech Canada: Bitcoin and         SEC-KIK-LIT-E-0000295
          Ethereum Summit Video Screen Capture
SEC49-A   September 7, 2017 New York City Ethereum Video      SEC-KIK-LIT-E-0002353

SEC49-B   September 7, 2017 New York City Ethereum Video      SEC-KIK-LIT-E-0002275-310
          Transcript
SEC49-C   September 7, 2017 New York City Ethereum Video      SEC-KIK-LIT-E-0002354
          Screen Capture
SEC50     Transcript of Harrison Wang Deposition Testimony,   N/A
          dated January 9, 2020
SEC51     Deposition Exhibit 52                               KIK000066-72

SEC52     Deposition Exhibit 16                               KIK000037-65

SEC53     Deposition Exhibit 40                               N/A

SEC54     Email and attachment, dated June 1, 2017            KIK_00017702-05

SEC55     Email and attachment, dated June 1, 2017            KIK_00017698-701

SEC56     Investigative Testimony Exhibit 181                 KIK_00113490-93

SEC57     Investigative Testimony Exhibit 133                 N/A
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SEC58-A   May 25, 2017 Promotional Video                         SEC-KIK-LIT-E-0000339

SEC58-B   May 25, 2017 Promotional Video Transcript              SEC-KIK-LIT-E-0000248-53

SEC59-A   May 25, 2017 CNBC Interview Video                      SEC-KIK-LIT-E-0002351

SEC59-B   May 25, 2017 CNBC Interview Transcript                 SEC-KIK-LIT-E-0002269-74

SEC60     Email Chain, dated February 19, 2017                   KIK_00024739-40

SEC61     Email Chain, dated July 6, 2017                        DBP-SEC-KIN_0000070-71

SEC62     August 30, 2017 Twitter Screen Capture                 KIK_00006919

SEC63     September 17, 2017 Reddit Screen Capture               KIK_00004467

SEC64     Letter from P. Gibbs to B. Mitchell, dated October     N/A
          20, 2017 Letter
SEC65     Deposition Exhibit 230                                 KIK_00002665-66

SEC66     Kin Foundation Reddit Post, dated September 17,        KIK_00045074-78
          2017
SEC67     Investigative Testimony Exhibit 93                     N/A

SEC68     Deposition Exhibit 227                                 KIK_00045122

SEC69     Communitech News, “The Kin revolution, in Kik          KIK_00007074-93
          CEO Ted Livingston’s own words,” dated June 8,
          2017
SEC70     Transcript of Jake Brukhman Investigative              N/A
          Testimony, dated July 11, 2018
SEC71     Investigative Exhibit 184                              KIK_00002106-07

SEC72     Deposition Exhibit 105, Transcript of Alexander        N/A
          Rousmaniere Investigative Testimony, dated July 18,
          2018
SEC73     Deposition Exhibit 229, Transcript of Harrison         N/A
          Wang Investigative Testimony, dated October 5,
          2018
SEC74     Transcript of Jack Neil Deposition Testimony, dated    N/A
          January 28, 2020
SEC75     Transcript of Garrette Furo Investigative Testimony,   N/A
          dated July 12, 2018
SEC76     Deposition Exhibit 146                                 MMLWM-00000888

SEC77     Investigative Testimony Exhibit 75                     SEC-PBDIGITAL-E-0000429
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SEC78    Investigative Testimony Exhibit 49                    KIK_00117728-30

SEC79    Investigative Testimony Exhibit 194                   KIK_00103267

SEC80    Deposition Exhibit 76                                 KIK_00060737

SEC81    Investigative Testimony Exhibit 29                    KIK_00078794-97

SEC82    Deposition Exhibit 150                                MMLWM-00002606-14

SEC83    Deposition Exhibit 33                                 COINFUND020091;
                                                               COINFUND019854-84
SEC84    Email, dated April 4, 2017                            COINFUND000369-70

SEC85    Deposition Exhibit 53                                 KIK00118242-45

SEC86    Deposition Exhibit 67                                 KIK_00115681-86

SEC87    Kik’s Second Amended Initial Disclosures, dated       N/A
         November 18, 2019
SEC88    DAO Report                                            N/A

SEC89    Transcript of Pat Chaukos Deposition Testimony,       N/A
         dated December 6, 2019
SEC90    Transcript of Ross McKee Deposition Testimony,        N/A
         dated December 10, 2019
SEC91    Investigative Testimony Exhibit 120                   KIK_00025159-60

SEC92    Transcript of Alexander Rousmaniere Deposition        N/A
         Testimony, dated November 22, 2019
SEC93    Declaration of Brent Mitchell, dated March 20, 2020   N/A

SEC94    Deposition Exhibit 141                                MMLWM-00000877-80

SEC95    Compilation of Emails, dated August 30, 2017          KIK_00019210-475

SEC96    Deposition Exhibit 55                                 N/A

SEC97    Investigative Testimony Exhibit 9                     KIK000098-108

SEC98    Investigative Testimony Exhibit 185                   KIK_00025985-89

SEC99    Investigative Testimony Exhibit 94                    N/A

SEC100   Investigative Testimony Exhibit 95                    N/A
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SEC101     Deposition Exhibit 149                                    MMLWM-00001027-28

SEC102     Compilation Emails, dated September 26, 2017              KIK_00020141-50

SEC103     Deposition Exhibit 62                                     KIK001071-76




  I declare under penalty of perjury that the foregoing is true and correct.

  Dated: Washington, D.C.
         March 20, 2020                                           _/s/ Laura D’Allaird_____
                                                                  Laura D’Allaird
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                                  CERTIFICATE OF SERVICE



       I certify that on March 20, 2020, I caused the foregoing to be filed using the Court’s CM/ECF

system, which will send a notification of such filing to each counsel of record.




                                                 /s/ Laura D‘Allaird
                                               Laura D‘Allaird
                                               Counsel for Plaintiff
